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                                UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS



            State of Texas, et al.
                                                   §
                 Plaintiff                         §
                                                   §
                                                   §
                    v.                             §    Case No.               2:24-cv-86
                                                   §
       United States of America, et al.            §
                                                   §
                Defendant                          §


                             ORDER FOR ADMISSION PRO HAC VICE

       The Court has considered the Application for Admission Pro Hac Vice of

Shawn M. Flynn                                                                             .

It is ORDERED that:


               the application is granted. The Clerk of Court shall deposit the admission fee to the
               account of the Non-Appropriated Fund of this Court. It is further ORDERED that, if the
               Applicant has not already done so, the Applicant must register as an ECF User within 14
               days. See LR 5.1(f) and LCrR 49.2(g).


               the application is denied. The Clerk of Court shall return the admission fee to the
               Applicant.




DATE                                            PRESIDING JUDGE
